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                      IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA



   JASON KESSLER                                   :      Case No. 1:18-cv-00015

                Plaintiff                          :      Judge MOON


                                                   :
         -v-

   CITY OF CHARLOTTESVILLE et al.           :

                                                   :
                Defendants

   _______________________________________________________

                 MOTION TO WITHDRAW AS COUNSEL
   _______________________________________________________

         Now come Attorneys Elmer Woodard and James E. Kolenich and move to withdraw

   as Counsel for defendant Vanguard America.



                                     Respectfully Submitted,



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                                        CERTIFICATE OF SERVICE

          I certify the above was served on April 3, 2019 by the Court’s CM/ECF system and
   upon non ECF participants as follows:

   Loyal White Knights of the Ku Klux Klan                     Moonbase Holdings, LLC
   a/k/a Loyal White Knights Church of                         c/o Andrew Anglin
   the Invisible Empire, Inc.                                  P.O. Box 208
   c/o Chris and Amanda Barker                                 Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379                                       Andrew Anglin
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                                                               a/k/a East Coast Knights of the
   Fraternal Order of the Alt-Knights                          True Invisible Empire
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